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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

KATHLEEN F. CAHILL                            )
                                              )
                              Plaintiff,      )
                                              )       Case No.
COFFEYVILLE REGIONAL                          )
MEDICAL CENTER, INC.                          )
                     Defendant.               )
                                              )

                                           COMPLAINT

       COMES NOW the plaintiff, Kathleen Cahill (“Plaintiff”) and for her claims for relief

against the defendant, Coffeyville Regional Medical Center, Inc. (“Defendant”), states and

alleges as follows:

                                           THE PARTIES

1.     Plaintiff is an individual who resides in Albuquerque, New Mexico.

2.     Defendant is a Kansas not-for-profit corporation doing business in Kansas. Defendant

may be served with process by serving Cheryl Batchelor at Coffeyville Regional Medical Center,

1400 W. 4th Street, Coffeyville, KS 67337.

                                JURISDICTION AND VENUE

       3.      This Court has diversity jurisdiction and federal question jurisdiction over this

matter pursuant to 28 U.S.C. §§ 1331 and 1332.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(c) because

Defendant, a not-for-profit corporation, is subject to personal jurisdiction in Kansas.
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                                         BACKGROUND

       5.      Defendant is a 501(c)(3) non-profit, city-owned 88-bed hospital and medical

center located in Coffeyville, Kansas.

       6.      Defendant is managed by a Board of Directors comprised of seven members.

Judy Hiner is the current chairman of the Board.

       7.      In early 2014, the Board ended the employment contract of its Chief Executive

Officer, hired an interim CEO, and began a nationwide search for a new CEO.

       8.      Plaintiff was at that time looking for a new position as a CEO for a hospital and

applied for Defendant’s open position.

       9.      At the time Plaintiff applied for this position, she was living in Albuquerque, New

Mexico.

       10.     Prior to applying for this position, Plaintiff had been working in healthcare for 37

years and had been a CEO at various hospitals for nearly 30 of those years.

       11.     Plaintiff submitted a resume with her application in March 2014. The resume was

crafted to highlight the positions she had held which she believed to be the most relevant to those

she was applying for. Plaintiff did not include every job she had held both in order to keep her

resume at a manageable length and because she did not believe every job was relevant. Her

resume was intended to highlight her skills, not to be a complete employment history.

       12.     Plaintiff’s resume contained a mistake as to dates. Her resume indicated she had

been CEO at North Valley Hospital and Medical Center in Denver, Colorado from 2004 to 2008,

but the “2004” should have been “2006.”         Likewise, her position at Summit Hospital of

Southeast Arizona in Tucson was listed on her resume as having been from 1998 to 2004, but




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“2004” should have been “2003.” Plaintiff was not aware at the time she submitted her resume

to Defendant of the date errors.

       13.      All other information on the resume submitted to Defendant was correct,

including Plaintiff’s job history for the past 8 years. Any job she left off her resume was not due

to any problem with that job, and was not an effort to “hide” anything. For instance, she left off

a position at Kindred Hospital in Oklahoma, City (from 2003 to 2005) where she was named

“CEO of the Year.”

       14.     Although she submitted her resume and a cover letter to Defendant on March 12,

2014, she did not receive any kind of a response until June 3, 2014. On that date, Plaintiff

received a telephone call from Becky McCune, Defendant’s Human Resources director,

requesting a telephone interview between Plaintiff and the Board of Directors. Ms. McCune also

sent Plaintiff a questionnaire that she was to fill out prior to the telephone interview.

       15.     Plaintiff’s telephone interview with the Board of Directors occurred on June 11,

2014. Thereafter, Plaintiff was invited to do an on-site interview on July 7, 2014.

       16.     Plaintiff’s on-site interview with Defendant was quite extensive and lasted an

entire day. It began first thing in the morning with an interview with the Board, then Plaintiff

met with the Defendant’s executive team and department directors, and next she had lunch with

the medical staff. In the afternoon there were three employee sessions (all three were also

attended by at least two Board members), a community tour, a meeting with city officials,

followed by another interview and then a dinner with the Board.          Plaintiff was asked by Ms.

McCune to provide a reference list, which she prepared and provided to Ms. McCune, but at no

time was Plaintiff asked to fill out an employment application, a complete job history, or a

background check authorization. At no time during her day-long interview was she asked



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questions by any Board member about her resume or her job history beyond her most recent

position.

       17.     On July 22, 2014, Plaintiff received a rejection via email from Ms. McCune on

behalf of Defendant, stating that the Board had decided to continue their search for a CEO.

       18.     Thereafter, on July 30, 2014, Plaintiff received an email from one of Defendant’s

board members – Neal Barkley – stating that the Board had received some misinformation and

asking if Plaintiff would still consider the CEO position. Plaintiff responded that she would still

be interested, but inquired as to the nature of the misinformation. Mr. Barkley responded that a

hospital employee had checked Plaintiff’s references, and rather than giving the information to

the full Board had instead given it to only one Board member. Mr. Barkley stated that he was

concerned the information had been “filtered.” He asked Plaintiff to resubmit a list of references

to him, and he would have the Board members contact them directly. Plaintiff resubmitted her

list of references as requested.

       19.     On August 8, 2014, Mr. Barkley requested – via email – that Plaintiff send

additional references from earlier in her career.     Plaintiff complied with the request.     She

thereafter received feedback from the Board chairman and other Board members that the

references were very positive or even “glowing.”

       20.     On August 13, 2014, Mr. Barkley telephoned Plaintiff and offered her the CEO

position, which she accepted. The hiring process had taken nearly seven months, and it had

included lengthy interviews and three separate reference checks of multiple references.

       21.     On August 25, 2014, Plaintiff received a written Employment Agreement and a

letter dated August 19, 2014, from Defendant. The letter, signed by the Board chairman, Judy

Hiner, stated that “We believe you are the right person to lead our team in making a difference in



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healthcare for our community.” Plaintiff signed the Employment Agreement on August 25,

2014. (The Employment Agreement is attached to this Complaint as Exhibit A.)

          22.   At no time prior to receiving the Employment Agreement was Plaintiff asked to

fill out an employment application, to list her full job history, or to sign an authorization for a

background check.

          23.   Pursuant to the Employment Agreement, the term of the contract was for 36

months, commencing on October 1, 2014 and ending September 30, 2017. The base salary set

forth in the Agreement was $210,000 per year. Additionally, the Agreement provided that

Plaintiff was to receive all benefits available to regular, full-time employees of Defendant. The

Agreement further provided that Plaintiff was eligible to receive an incentive bonus up to 25% of

her base salary for achieving a 4% operating margin. (Exhibit A, ¶6(f).)

          24.   As to termination, the Agreement provided that if Defendant terminated the

Agreement prior to the expiration of the term of the Agreement, then it would pay the Plaintiff

the balance of the annual salary due under the remaining term of the Agreement. (Exhibit A,

¶7(a).)

          25.   The Agreement further provided that if the Defendant terminated the Plaintiff “for

any of the causes specifically defined as Misconduct Subject to Disciplinary Action under

CRMC’s Personnel Policies,” then they would be liable for compensation only up to the date of

the violation. Plaintiff was not provided a copy of the Personnel Policies at any time prior to

receiving her Employment Agreement. (Exhibit A, ¶7(b).)

          26.   The Agreement contained no provision stating that employment was contingent

on the completion of a background check.




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       27.       Following the execution of the Employment Agreement, Plaintiff made

arrangements to move from New Mexico to Coffeyville, Kansas, and also began doing work for

the Defendant even though her employment did not officially begin until October 1, 2014.

       28.       During the month of September, 2014, Plaintiff performed, among other things,

the following tasks for Defendant: Drafted a new CFO job description; reviewed and screened

CFO candidate resumes; participated in telephone conference calls regarding physician

recruitment; contacted and worked with physician recruitment firms; reviewed Emergency Room

contract proposals; reviewed financial statements, productivity reports and budget assumptions;

participated in numerous conference calls on a variety of matters; participated in budget planning

for 2015; met with Defendant’s attorney concerning Stark issue; attended Board finance

committee meeting on September 23, 2014; attended Board meeting on September 24, 2014.

       29.       Plaintiff moved to Coffeyville, Kansas on September 21, 2014, and signed a one

year lease on a house.

       30.       On September 24, 2014, Plaintiff attended a new hire orientation at the hospital

and filled out tax and I-9 forms and was also asked to sign a background check authorization,

which she did.

       31.       The background check authorization specifically stated, “I further understand that

I may request a complete and accurate disclosure of the nature and scope of the background

verification, to the extent such investigation includes information bearing on my character,

general reputation, personal characteristics or mode of living.” (The Background Verification

Disclosure is attached to this Complaint as Exhibit B.)




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       32.    Plaintiff reported to work at Defendant’s hospital on October 1, 2014. Plaintiff

had previously been performing work and was ready and able to perform the work anticipated by

her Employment Agreement.

       33.    Shortly before noon on Plaintiff’s first day of work while she was meeting with

the Defendant’s CFO, the Board chairman, Judy Hiner, came to Plaintiff’s office and asked her

to accompany her to a special Board meeting.

       34.    When Plaintiff entered the room where the Board members were present, she was

immediately accused of having falsified her resume. She was told a background check had

shown discrepancies. She managed to state that she did have an inadvertent error on two dates

on her resume but that absolutely everything else contained in her resume was correct. She was

not shown any documentation or given any further chance to explain. She was subjected to

yelling and even cursing by some members of the Board. Plaintiff asked for a copy of the

background check, but it was not provided. The meeting lasted for no more than 10 minutes, and

Plaintiff was told she was being placed on leave and was to go home rather than back to work.

       35.    On Monday, October 6, 2014, the Defendant’s attorney – M. Doug Bell —

informed plaintiff that her contract was being terminated and that she would be paid for October

1 through October 6, 2014.

       36.    On October 10, 2014, Mr. Bell gave Plaintiff a letter and her paycheck in the

amount of $3,230.72, less deductions. In the letter, Mr. Bell claimed that the contract was “null

and void” due to alleged “resume fraud.” He also presented Plaintiff with a “Cancellation

Agreement and Mutual Release and Confidentiality Agreement,” that she was asked to sign,

releasing any rights she might have against the Defendant in exchange for the Defendant

foregoing repayment of her costs that it had paid (per the Employment Agreement) for her move



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from New Mexico to Kansas in an amount of $16,242.56, plus the cost of her medical screening,

for a total of $16,506.56. Plaintiff did not sign this Agreement.

          37.   Although Plaintiff again requested from Mr. Bell a copy of her background check,

it was not provided. Defendant since has claimed that Defendant simply did an in-house internet

search after Plaintiff had begun working and that no background check was ever conducted.

          38.   Following the termination of her Employment Agreement, Plaintiff received

reports from Coffeyville citizens who were not on the Board of Directors of the Defendant that

they had been told that Plaintiff had committed fraud and was being let go.

          39.   Plaintiff thereafter made demand on Defendant to pay her the remaining salary

due her under the Agreement’s three-year term, but the Defendant refused.

          40.   Without a job, Plaintiff had no reason to remain in Coffeyville, Kansas, so she

moved back to Albuquerque, New Mexico, and incurred costs in relocating and cancelling her

lease.

          41.   In early December 2014, Plaintiff received notice dated September 26, 2014 from

First Advantage Background Services Corp. (“First Advantage”) that Defendant had requested a

background search, and that public record information regarding Plaintiff had been reported by

First Advantage to Defendant.

          42.   The letter from First Advantage included a copy of the results of the background

search.

          43.   Also in early December 2014, Plaintiff received notice dated September 28, 2014

from Equifax Information Services LLC (“Equifax”) that First Advantage had requested a copy

of her credit file. The notice further informed Plaintiff of her right to request a free copy of her

Equifax credit file, should she be declined employment based upon information in that file.



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       44.     Both notices from Equifax and First Advantage were mailed to Plaintiff’s former

address in New Mexico, and, due to a mix up at the United States Post Office, were not

forwarded to Plaintiff until early December, 2014.

                         COUNT ONE – BREACH OF CONTRACT

       45.     Plaintiff incorporates by reference, as if fully set forth herein, paragraph 1 through

44 of this Complaint.

       46.     Plaintiff and Defendant entered into a written Employment Agreement dated

August 25, 2014, with an effective date of October 1, 2014.

       47.     Prior to entering this Agreement, the Defendant had a full opportunity to engage

in due diligence to vet the Plaintiff and conduct all necessary background checks.

       48.     In reliance on the Employment Agreement, Plaintiff moved from Albuquerque,

New Mexico to Coffeyville, Kansas and began work for Defendant under the terms of the

Agreement.

       49.     At all relevant times, Plaintiff was ready and willing to perform under the

Employment Agreement, and had begun performance.

       50.     Defendant breached the Employment Agreement with Plaintiff when it terminated

the Employment Agreement without cause and refused to pay the remaining salary owed under

the Agreement’s three year term in compliance with paragraph 7(a) of the Agreement.

       51.     As a result of Defendant’s breach of the Employment Agreement, Plaintiff has

incurred actual and incidental damages, including damage to her professional reputation.

       WHEREFORE, Plaintiff respectfully prays for a judgment against Defendant for all

actual damages due under the Employment Agreement, as well as incidental damages for breach

of contract, and such other and further relief as this Court deems just and proper.



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        COUNT TWO – VIOLATION OF THE FAIR CREDIT REPORTING ACT

       52.     Plaintiff incorporates by reference, as if fully set forth herein, paragraphs 1

through 51 of this Complaint.

       53.     Upon information and belief, any applicant with a hospital – particularly an

applicant for the position of the Chief Executive Officer – would be required to undergo a

background check before hiring.

       54.     Based on communications from both First Advantage and Equifax, a background

check on Plaintiff was performed at the request of Defendant.

       55.     The Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. requires that if an

employer is to take adverse action against an employee based on information in a consumer

report, the employer must provide a copy of the report to the employee, a notice of rights under

the FCRA, and that the employee has the right to dispute the accuracy or completeness of the

report. 15 U.S.C. §1681b.

       56.     Plaintiff was not provided a copy of the background report on which Defendant

allegedly based its decision to take adverse action.

       57.     Further, Defendant explicitly represented that no background check beyond a

simple internet search was performed.

       WHEREFORE, Plaintiff respectfully prays for a judgment against Defendant for back

and front pay, including lost benefits, for statutory penalties, punitive damages, and for attorney

fees, costs and such other and further relief as this Court deems just and proper.




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                                 DEMAND FOR JURY TRIAL

       The Plaintiff hereby requests a trial by jury on all issues herein.

                                  DESIGNATION OF TRIAL

       Pursuant to D. Kan. Rule 40.2, Plaintiff designates Wichita, Kansas as the place of trial in

the above-captioned matter.

                                              Respectfully submitted,

                                              MORRIS, LAING, EVANS, BROCK
                                              & KENNEDY, CHTD.

                                              /s/ Diane S. Worth
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                                                       EXHIBIT B
